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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )
    v.                               )    CRIMINAL ACTION NO.
                                     )      2:12cr104-MHT
STEVEN P. MOCK                       )          (WO)

                         OPINION AND ORDER

    A jury found defendant Steven P. Mock guilty of one

count     of   conspiracy       to       commit    wire      fraud       and

financial-institution fraud, 18 U.S.C. § 1349, six counts

of wire fraud, 18 U.S.C. § 1343, and three counts of

financial-institution        fraud,       18   U.S.C.   §   1344.        The

question of Mock’s competency was raised at sentencing,

and the court ordered that the government’s evaluation of

Mock be conducted on an outpatient, non-custodial basis.

United States v. Mock, 2014 WL 1491198 (M.D. Ala. Apr.

15, 2014) (Thompson, J.).            The case is now before the

court    on    Mock’s    motion      to    determine        whether      the

government’s proposed evaluator should be disqualified

because of a conflict of interest.                The government will

be permitted to proceed with its proposed evaluator.
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                           I. BACKGROUND

    In     its    indictment    and    at   trial,        the     government

alleged that Mock, along with co-defendants Paul Hulse,

Sr., and Frank J. Teers, conspired to, and actually did,

defraud     financial     institutions           out     of     millions   of

dollars.     Specifically, Hulse represented himself to be

a wealthy businessman seeking loans and offering ample

collateral in the form of bonds, when in reality he owned

no bonds.        Teers, a stockbroker, provided documentation

and managed the buying and selling of bonds to facilitate

the scheme.        Mock is an attorney.                As alleged by the

government,       Mock   contributed        to     the        conspiracy   by

vouching for Hulse and confirming his supposed assets.

Hulse pleaded guilty to a related charge, while Mock and

Teers were convicted at trial.           Hulse and Teers have been

sentenced; Teers, but not Hulse, has appealed.

    The    procedural     background        with       regard     to   Mock’s

competency is set forth in more detail in the court’s

previous opinion.        Mock, 2014 WL 1491198 at *1-2.                    The



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issue of Mock’s competency was raised by the court at

sentencing,         which   was     continued      generally      pending     a

competency hearing.            Mock’s counsel arranged a private

evaluation, the conclusion of which was that Mock is not

competent and was not competent at the time of trial.

The parties agreed that the government would conduct its

own     evaluation.         The     government     sought    an   inpatient

evaluation in Bureau of Prisons (“BOP”) custody, and Mock

sought to have the evaluation conducted out of custody,

on an outpatient basis.                The court concluded that due

process required the government to establish a compelling

government         interest    in     order   to   justify    a   custodial

evaluation and that the government had failed to do so in

this     case.        The     court    therefore     ordered      that      the

government’s evaluation be conducted on an outpatient

basis.1      Id.


    1. The court required that the government’s evaluator
address, not only Mock’s competency, but also to what
extent subsequent custodial observation might still be
beneficial to determine Mock’s competency. The court,
therefore, gave the government leave to refile its
                                           (continued...)

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       Apparently,      the     government      had        some       difficulty

finding an expert to conduct that evaluation in Texas,

where Mock lives.         Eventually, the government reached an

agreement       with    Dr.     Steven       Rosenblatt,          a     forensic

psychiatrist.           However,       during       the    course       of     the

government’s discussions with Rosenblatt, it became clear

that     Rosenblatt       had    been       involved        in    this        case

previously: he was retained to, and actually did, conduct

a competency evaluation of Mock’s co-defendant, Hulse.

Rosenblatt informed the government that he had received

no   information       about    Mock       during    the    course       of    his

evaluation of Hulse, and Hulse’s counsel confirmed that

he did not provide Rosenblatt with any information about

Mock.      The government informed Mock’s counsel of the

prior involvement, and Mock filed the instant motion to

determine whether Rosenblatt has a conflict of interest.




    1. (...continued)
request for an in-custody competency evaluation.                             Mock,
2014 WL 1491198 at *4.

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                           II. DISCUSSION

                                   A.

    Mock asks the court to disqualify Dr. Rosenblatt from

conducting a competency evaluation in this case.                  Before

turning to whether that step is warranted, and indeed

whether the court even has the authority to do so, the

court will first strive to distill Mock’s argument and

the support he cites for it.              In so doing, the court

notes that this argument is quite difficult to follow,

and so the court will try to be as concrete as possible

in discussing Mock’s position.

    Mock’s     core   argument      is   that   Rosenblatt’s       prior

involvement in Hulse’s case, combined with his proposed

involvement     in    Mock’s    case,    creates     a   conflict        of

interest.    Generally speaking, a conflict of interest is

defined as “A real or seeming incompatibility between

one’s private interests and one’s public or fiduciary

duties” or “A real or seeming incompatibility between”

two different duties, such as a conflict between “the



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interests of two of a lawyer’s clients.”                            Black’s Law

Dictionary (9th ed. 2009), Conflict of Interest.

       At the outset, it is helpful to distinguish three

kinds of problems that are sometimes described as falling

under     this        rubric:     (1)    actual      conflict      of    interest,

meaning       a       situation        that    actually        compromises      an

individual’s ability to fulfill his public or fiduciary

duties; (2) potential conflict of interest, meaning a

situation that presents a substantial risk, depending on

intervening           events,     of     compromising         an   individual’s

ability to fulfill his public or fiduciary duties; and

(3)     appearance         of    conflict      of    interest,       meaning    an

individual’s ability to fulfill his public or fiduciary

duties      is    not      compromised         but   may      be   perceived    as

compromised           by    third       parties.           See,    e.g.,     Kevin

McMunigal,        Rethinking           Attorney      Conflict       of    Interest

Doctrine,         5    Geo.      J.    Legal    Ethics      823,     846    (1992)

(discussing,               and        criticizing        as        theoretically




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inconsistent, distinctions drawn among actual, potential,

and appearance of conflicts).

    Mock argues that Dr. Rosenblatt’s situation is an

example        of     ethically         problematic          “multiple

relationships.”       The best way to grasp what he means by

multiple relationships is to consider the most common

example   of   multiple     relationships       in   the   context       of

forensic psychiatry: the so-called ‘dual agency’ problem.

See Steven H. Berger, MD, Ethics and Dual Agency in

Forensic Psychiatry, Psychiatric Times, June 1, 1998

(Doc. No. 475).        This problem generally arises when a

single psychiatrist serves in the same case as both the

clinical treating physician and the forensic evaluator.

This can create a conflict of interest: as the treating

physician, the doctor’s primary duty is to do what is

best for the patient; but, as a forensic evaluator, the

doctor’s primary duty is to give the court an honest

assessment     of    the    subject.         Sometimes      an    honest




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assessment is not in the patient’s best interests, hence

the conflict.

       Mock does not argue that Rosenblatt’s involvement in

this case presents the dual-agency problem of acting in

both    treating    and   forensic        capacities.      After    all,

Rosenblatt has not served as a treating physician to

anyone involved in this case.              Rather, he has served in

only     forensic    roles:       first    performing     a    forensic

evaluation of Hulse, and now proposing to perform such an

evaluation of Mock.

       Nevertheless,      Mock      argues      that     Rosenblatt’s

involvement     raises      the     related    issue     of    multiple

relationships, meaning in general two or more roles or

relationships that are in tension with each other.                       To

flesh out the nature of Mock’s concerns, the court looks

to the various ethical guidelines for psychiatrists and

psychologists on which the parties have relied in this

case.    The forensic psychiatry guidelines indicate that

involvement in the adversarial process carries with it



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the potential to infect an evaluator’s opinions with

bias.     American Academy of Psychiatry and the Law, Ethics

Guidelines for the Practice of Forensic Psychiatry (2005)

(Doc. No. 471-1) at 3 (“Being retained by one side in a

civil or criminal matter exposes psychiatrists to the

potential        for    unintended        bias   and     the    danger       of

distortion         of     their      opinion.”).          “It     is        the

responsibility of psychiatrists to minimize such hazards

by acting in an honest manner and striving to reach an

objective opinion.”           Id.    Of particular concern when it

comes to such bias is the conflict, discussed above,

“inherent in ... differing clinical and forensic roles.”

Id.       The   more      general    Principles     of   Medical     Ethics

further       recognizes      that    the    psychiatrist’s        outside

relationships, separate and apart from his dual clinical

and forensic roles, have the potential to conflict with

his      duties     and     taint     his    evaluation.          American

Psychiatric Association, Principles of Medical Ethics,




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With    Annotations    Especially       Applicable     to   Psychiatry

(Doc. No. 471-2) (2013) at 13.2

       Finally, Mock relies on guidelines for psychologists.

He acknowledges that Rosenblatt, as a psychiatrist, is

not bound to follow those guidelines.                But, he argues,

they are relevant and shed light on the similar ethical

issues presented in the two closely related fields.                  The

psychology guidelines warn against conflicts which may

impair the practitioner’s ability to perform his work,

and    offer   guidance     with    regard     to    resolving      such

conflicts:




    2. Mock seeks to draw further lessons from the
Principles, but in the court’s view they have little
bearing on this case. Section 8 of the Principles, on
which Mock relies, is merely an annotation of the
following general principle: “A physician shall, while
caring for a patient, regard responsibility to the
patient as paramount.” Id. at 6, 13 (emphasis added).
As a forensic psychiatrist, Rosenblatt is not proposing
to care for Mock. Thus, while the court believes Mock is
correct that section 8 usefully indicates a risk of other
relationships impacting a psychiatrist’s performance of
his duties, the balance of section 8 (regarding how to
handle and resolve such conflicts) appears to be
inapposite as applied to Rosenblatt.

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         “Forensic practitioners refrain from
         taking on a professional role when
         personal,   scientific,    professional,
         legal, financial, or other interests or
         relationships   could    reasonably   be
         expected to impair their impartiality,
         competence, or effectiveness, or expose
         others   with   whom   a    professional
         relationship exists to harm.

         “Forensic practitioners are encouraged
         to identify, make known, and address
         real or apparent conflicts of interest
         in an attempt to maintain the public
         confidence    and   trust,    discharge
         professional obligations, and maintain
         responsibility,    impartiality,     and
         accountability.       ...     Forensic
         practitioners consider whether a prudent
         and competent forensic practitioner
         engaged in similar circumstances would
         determine that the ability to make a
         proper decision is likely to become
         impaired     under    the     immediate
         circumstances.

         “When   a  conflict   of  interest   is
         determined to be manageable, continuing
         services are provided and documented in
         a way to manage the conflict, maintain
         accountability, and preserve the trust
         of relevant others....”

American Psychological Association, Specialty Guidelines

for    Forensic        Psychology        (“Forensic         Psychology

Guidelines”) (2013) (Doc. No. 473-1) at 4-5 (citations

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omitted).      The   guidelines          also   specifically    address

multiple relationships, again urging caution and offering

guidance in resolving problematic situations:

           “A multiple relationship occurs when a
           forensic practitioner is ... involved in
           a    personal,    fiscal,    or    other
           relationship with an adverse party; [or]
           at the same time is in a relationship
           with a person closely associated with or
           related to the person with whom the
           forensic     practitioner     has    the
           professional relationship; ....

           “Forensic   practitioners    strive   to
           recognize the potential conflicts of
           interest and threats to objectivity
           inherent in multiple relationships.
           Forensic practitioners are encouraged to
           recognize   that   some   personal   and
           professional relationships may interfere
           with their ability to practice in a
           competent and impartial manner and they
           seek to minimize any detrimental effects
           by avoiding involvement in such matters
           whenever feasible or limiting their
           assistance   in   a   manner   that   is
           consistent       with     professional
           obligations.”

Id. at 7.

    Mock    argues    that    Dr.    Rosenblatt      is   involved       in

multiple relationships: he had a financial and forensic



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relationship with Hulse, has a financial relationship

with the government, and proposes to have a forensic

relationship     with    Mock.       Considering      these     sources

together,    Mock     suggests     that    Rosenblatt’s       multiple

relationships       could   impair     Rosenblatt’s       ability        to

fulfill his duty of honesty and objectivity.

    Mock has articulated only one concrete scenario of

potential conflict.         Mock argues that he may seek to

blame Hulse at sentencing as the leader of the conspiracy

who manipulated Mock into participating.               If Rosenblatt

has some subconscious loyalty to Hulse, due to his prior

forensic or financial relationship with Hulse, and if

Rosenblatt is called to testify at sentencing, he may be

faced with a conflict between his loyalty to Hulse and

his duty to be honest with the court.             The court hastens

to note that the government has retained Rosenblatt to

perform only a competency evaluation; so far, there is no

indication that Rosenblatt will be called to testify at

sentencing, although of course it is possible.



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      Although Mock has not explicitly made the argument,

the   court       notes   that    an     argument     that    subconscious

loyalty      to     Hulse     could      also    infect       Rosenblatt’s

competency evaluation of Mock, apart from the prospect of

Rosenblatt’s potential testimony at sentencing, lacks

merit.       As to Mock’s competency, there is no ‘finger

pointing’ between Mock and Hulse: it is simply a question

of Mock’s mental capacity.                  Thus the court does not

believe that, even if Rosenblatt did have some loyalty to

Hulse,    that      loyalty      would      present     any   conflict   of

interest as to the competency evaluation.

      Mock    indicates       there      are    other    ways   in   which

Rosenblatt’s involvement is problematic, but the court

cannot make sense of how those other issues could create

a conflict that would bear on Mock’s case.                    For example,

Mock notes that Rosenblatt had relationships with both

Hulse and the government, who were adverse parties (at

least until Hulse’s case was concluded); this, he argues,

constitutes an improper multiple relationship under the



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psychology      guidelines.             See   Forensic           Psychology

Guidelines      (Doc.    No.     473-1)       at     7    (“fiscal      ...

relationship with an adverse party”).                    But he does not

explain how that tension, if it exists, could have any

effect    on    Mock.      After    all,      even       the     psychology

guidelines, which may not apply at all to Rosenblatt,

warn     only    that    “some     personal        and         professional

relationships may interfere with [the psychiatrist’s]

ability to practice in a competent and impartial manner.”

Id. (emphasis added).          Mock must do more than point to

multiple relationships; he must at the least explain how

those relationships might affect him.

       Counsel for Mock also suggested, during a telephone

conference held on the record on May 15, 2014, that

Rosenblatt’s evaluation of Mock could be compromised

because he evaluated Hulse first and so may have formed

preconceptions that could color his analysis of Mock.

Under    the    circumstances      of     this     case,       this   seems

extraordinarily unlikely: it is exceedingly difficult to



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see how information Rosenblatt obtained during Hulse’s

evaluation, limited to the question of competency, could

possibly color his competency evaluation of Mock.                      But

even    if   the       prior   evaluation    did    color    Rosenblatt’s

opinion of Mock, the court cannot see how that qualifies

as a conflict of interests.                 Rosenblatt’s interest in

both cases is accuracy; while it is possible he, like any

human, could fall short on that account, that would at

most constitute a mistake, not a conflict.

       The same is true of the observation made by Kathy

Kinlaw,      M.Div.,      a    professor    of     medical    ethics   who

prepared a declaration submitted in support of Mock’s

motion, that Mock may be less cooperative with Rosenblatt

as a result of the prior relationship.                  Declaration of

Kathy Kinlaw, M.Div. (Doc. No. 478-1) at 5.                   A defendant

might not trust an evaluator for any number of reasons.

While    such      a    lack   of   trust   may    impact    Rosenblatt’s

ability to do his job as a practical matter, it does not

indicate that he has any conflict of interest.



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       Finally, in addition to his arguments about bias and

the    appearance       of   bias,    Mock    initially       argued       that

Rosenblatt’s         dual    role    also     raises       concerns     about

confidentiality.          He makes no argument in support of that

notion in his brief, and the court considers him to have

abandoned it.         However, even considering the merits, the

court cannot see how Rosenblatt’s involvement creates a

confidentiality           problem     for     Mock.           Rosenblatt’s

evaluation of Hulse is over and done, as is Hulse’s case,

and    Mock    has     not   explained       how    he    thinks     his    own

confidential information might be disclosed as a result

of    the     prior     evaluation     of     Hulse.         If     anything,

Rosenblatt’s          dual   role    in     this     case     creates      the

possibility        that      Rosenblatt      will        disclose     Hulse’s

confidential information to Mock, though the court has no

reason to think Rosenblatt will do so.                        Furthermore,

Rosenblatt’s evaluation of Hulse is not filed under seal,

and is thus available to the public, so it is not obvious

what confidential information with regard to Hulse would



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even be at issue.         In any event, Mock is in no position

to invoke Hulse’s privacy interests.

      In sum, then, the only concrete scenario Mock has

articulated suggests that Rosenblatt’s prior involvement

in Hulse’s case creates a potential conflict of interest:

namely,     that    if     Rosenblatt       is   called       at    Mock’s

sentencing, his testimony may be compromised because of

some loyalty to Hulse.           Mock has also suggested that this

situation creates the appearance of a conflict, apart

from the question of how likely an actual conflict might

be.   However, the court can discern no specific argument

indicating     that      Rosenblatt      presently     has    an    actual

conflict.

      This is consistent with the conclusions of Kinlaw,

the   ethics   professor.          She     indicates    that       multiple

relationships      can    both    create    an   actual      conflict    of

interest and also “raise the specter” of the appearance

of conflict of interest.            Declaration of Kathy Kinlaw,

M.Div. (Doc. No. 478-1) at 5.            She specifically indicates



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that, during his evaluation of Hulse, Rosenblatt had the

opportunity to review the indictment, which contains

information about Mock.          She finds that it is “unclear

whether access to such information would constitute undue

influence that would impact Dr. Rosenblatt’s competency

evaluation” of Mock.         Id.     However, even if Rosenblatt

had not already seen the indictment, he would be given

the opportunity to review the indictment in preparation

for his evaluation of Mock, so the court cannot see how

reviewing the indictment earlier makes any difference.

      Ultimately, though, even with her observation about

the   indictment,     it    appears     Kinlaw’s    conclusion      with

regard to this case is not that there is an actual

conflict of interest.        Rather, she concludes that there

is “potential for the appearance of conflict of interest”

and   “[e]thically     it    would      be   prudent   to   avoid    any

appearance of conflict of interest in this case” by

identifying another expert to perform the evaluation.

Id.



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    The court thus concludes that, at most, this case

presents a tenuous potential conflict of interest and a

tenuous    potential    for   the    appearance     of   conflict        of

interest.     The question is whether the court can or

should do anything about it.



                                  B.

    Rosenblatt is not a court-appointed expert; rather,

he is the government’s proposed evaluator and witness on

the issue of Mock’s competency.             Mock does not identify

the legal basis for his motion and, as explained below,

the court knows of no legal basis for prohibiting the

government    from    retaining     and    using   Rosenblatt      as     a

witness,    particularly      absent      any   actual   conflict        of

interest.

    The court will begin with 18 U.S.C. § 4241, which

establishes the statutory framework for Mock’s competency

determination.       The statute provides that “the court may

order that a psychiatric or psychological examination of



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the defendant be conducted, and that a psychiatric or

psychological report be filed with the court, pursuant to

the provisions of section 4247 (b) and (c).”                  18 U.S.C.

§ 4241(b) (emphasis added).            Section 4247 provides that

such an examination “shall be conducted by a licensed or

certified psychiatrist or psychologist,” and that each

such licensed professional “shall be designated by the

court.”   18 U.S.C. § 4247(b).

    However, the government’s proposed evaluation would

not be conducted under the auspices of § 4247 at all.

Section 4241 allows, but does not require, a court-

directed evaluation; if the court does not order an

evaluation pursuant to § 4247, it can still proceed to

determine    the    defendant’s        competency     based    on    the

evidence presented by the parties.            See United States v.

Anderson, 329 F. App'x 878, 885 (11th Cir. 2009) (“The

language of those provisions is precatory rather than

mandatory –- the district court may, not must, provide

for a court-ordered examination of the defendant”).                      In



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this case, the parties have agreed that the government

will be permitted to conduct its own evaluation, with an

evaluator of its choosing, and to present the results to

the court.    The court has ordered no evaluation and has

designated    no    examiner    to    conduct    it.     Rather,     the

court’s prior opinion simply resolved the question of

whether the government would be permitted to conduct its

evaluation in a custodial setting.              As set forth in that

opinion,    the     prospect    of    custody    implicated      Mock’s

liberty     interests     and    raised      serious     due    process

concerns.      By    contrast,       the   proposed    evaluation        by

Rosenblatt, out of custody, is more in the nature of

agreed-upon discovery between the parties.                Cf. Fed. R.

Civ. P. 35 (providing for mental examination as form of

discovery in civil cases).

    This understanding helps bring Mock’s instant motion

into focus.       Mock argues that Rosenblatt has a conflict

of interest and so should be disqualified.                 But § 4241

does not speak to disqualification of experts presented



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by the parties; indeed, even when it comes to a court-

appointed expert, § 4247 requires only that he be a

“licensed or certified psychiatrist or psychologist.”

Neither statute, by its terms, appears to offer any basis

for instructing the government to retain a different

psychiatrist.

    Several comparisons serve to highlight Mock’s failure

to cite any legal authority to support his motion.                       An

attorney with a conflict of interest can be disqualified

from providing representation in a criminal case.                   See,

e.g., Holloway v. Arkansas, 435 U.S. 475 (1978).                     But

that disqualification arises out of the defendant’s right

under the Sixth Amendment to effective assistance of

counsel.   Id.    Similarly, a judge must recuse himself if

he has a conflict of interest.               See Caperton v. A.T.

Massey Coal Co., Inc., 556 U.S. 868 (2009); Tumey v.

State of Ohio, 273 U.S. 510 (1927).              But that recusal is

required because Due Process clauses of the Fifth and

Fourteenth     Amendments       demand      “a     fair     tribunal,”



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Caperton,    556   U.S.   at   876      (internal   quotation       marks

omitted), or, in other words, a fair and impartial judge.

    As far as this court is aware, there is no similar

legal basis for demanding that witnesses presented by the

government in a criminal case be free from conflicts of

interest.      On the contrary, witnesses in cases of all

types frequently have various biases and conflicts of

interest that may serve to undermine their testimony.

But the proper remedy in those circumstances is not, as

Mock requests, a determination by the court that the

witness   is    biased    before     he   even   takes    the      stand.

Rather, the appropriate course is to afford the party

against     whom   such    a   witness      is    offered     “a     full

opportunity to cross-examine the witness[] and make the

[factfinder] aware of any potential bias or conflict of

interest.”      United States v. Battle, 264 F. Supp. 2d

1088, 1206 (N.D. Ga. 2003) (Evans, J.), aff’d, 419 F.3d

1292 (11th Cir. 2005).




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    In Battle, a habeas-corpus challenge pursuant to 28

U.S.C. § 2255 to the defendant’s murder conviction and

sentence,     the   court    considered        a   somewhat     similar

argument to the one made here.               The defendant in that

case argued that two psychiatrists, who were called as

witnesses by the government after evaluating Battle for

competency    and   in   relation       to   his   insanity     defense,

should have been excluded because they had a conflict of

interest.     Specifically, the defendant argued that the

psychiatrists were employed by the BOP, as the alleged

murder victim in that case had been, and so were biased.

The district court denied habeas relief, noting that,

“Witnesses    who   have    some    interest       at   stake    in    the

proceedings routinely testify in court, whether it is a

cooperating    defendant      or   an    expert    being   paid       by   a

party.”     Battle, 264 F. Supp. 2d at 1206.                  The court

noted that the defendant had ample opportunity to elicit

any bias during cross-examination, and indeed did explore

that question with the doctors on the stand.                  The court



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concluded that, “Whether and to what extent the witness’s

employment by the BOP created a conflict of interest is

a factor for jury consideration as to the weight and

credibility of the testimony.”           Id.

    The alleged conflict of interest in this case is much

more tenuous than was the argument in Battle, where the

court   found       the    experts’      testimony       permissible.

Rosenblatt    has     represented      that     he    was    given       no

information about Mock and did not discuss Mock with

Hulse, and Mock offers no reason to doubt that assertion.

However, Mock argues that there will likely be ‘finger-

pointing’ between Hulse and Mock at sentencing, and the

prior financial and professional relationship with Hulse

might have left Rosenblatt predisposed against Mock in a

way that will taint his possible testimony at sentencing.

That conclusion is speculative in the extreme under the

circumstances of this case.         Battle had far more basis to

fear that the doctors in that case were predisposed

against him, given that the murder victim was a fellow



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employee    of   BOP,   but   even     that    was    insufficient       to

justify excluding those witnesses’ testimony.                   Despite

the stronger basis in Battle to conclude there was a

potential    conflict,     or    at    least    the    appearance        of

conflict, the court determined that cross-examination was

adequate to protect against the chance of bias.                     This

court can discern no basis to preclude the government

from using the expert of its choosing.3




    3. The court does, of course, have a ‘gate-keeping’
function with regard to expert testimony. See Fed. R.
Evid. 702; Daubert v. Merrell Dow Pharm., Inc., 509 U.S.
579 (1993). Rosenblatt’s credentials and methods are not
in dispute.    There is also authority that, “Federal
courts have the inherent power to disqualify experts ...
although cases that grant disqualification are rare.”
Koch Ref. Co. v. Jennifer L. Boudreau M/V, 85 F.3d 1178,
1181 (5th Cir. 1996).    As far as the court is aware,
those cases all involve experts or parties switching
sides, and therefore raise concerns that a party’s
confidential communications with his experts may be
disclosed to adverse parties. There is no such danger of
Mock’s confidential communications being exposed in this
case.

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                                   C.

       Even if Rosenblatt were a court-appointed expert,

that would not change the resolution of Mock’s motion.

The court assumes, for the sake of argument, that a

court-appointed expert with a conflict of interests would

raise due-process concerns, although the court notes that

Mock has cited no authority to that effect and even a

court-appointed expert merely renders an opinion which

the court, as the adjudicator of competency, is free to

accept or reject.          However, the assumption that due

process    would   be    implicated      if   the   court     appointed

Rosenblatt does not answer the key question: under what

circumstances would due process require disqualification?

       Given that there is no actual conflict of interest in

this case, and given the tenuousness of the potential

conflict of interest articulated by Mock, it appears Mock

argues for a blanket rule: in criminal cases, courts

should always disqualify psychiatric experts who have

been    previously      involved    in    other     aspects     of   the



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proceedings,     including     those    who    have   evaluated      co-

defendants.      But, in cases involving similar issues,

courts have rejected this kind of blanket rule.

    For example, in United States v. Best, 61 M.J. 376

(C.A.A.F. 2005), a competency evaluation was conducted

during the course of court-martial proceedings.                     Best

objected that a psychiatrist and a psychologist, who were

members of the sanity board charged with determining his

competence, had a conflict of interest because they had

both previously conducted brief assessments of Best’s

mental condition in a treatment capacity.                    In other

words, Best raised the archetypical ‘dual agency’ problem

of a single practitioner serving in both clinical and

forensic capacities.

    The court found that, “even if there exists some

evidence of conflict, that evidence is insufficient to

comprise an actual conflict of interest.”               Best, 61 M.J.

at 388 (internal quotation marks omitted).                  The court

reviewed various sources of authority, including many of



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the same professional guidelines for psychiatrists and

psychologists on which Mock relies in this case.                     The

court acknowledged that those sources indicated that

psychiatrists and psychologists should avoid multiple

relationships.     However, in light of the limited role the

providers at issue had played in treating Best, the court

concluded that, “There was no material limitation of

either [one’s] ability to participate objectively in the

board.”     Id.      In   other    words,    neither     a   potential

conflict of interest, nor even discouragement of the

experts’ conduct by their own professional association,

was enough to justify excluding the providers from the

sanity board in the absence of any actual conflict of

interest.

    In an opinion concurring in the result in Best, Judge

Baker made clear that, in his view, the question was one

of constitutional magnitude: because the sanity board was

essentially the adjudicator of Best’s competence, he was

entitled to demand that the board was fair and impartial.



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Id. at 389-90 (Baker, J., concurring in the result).

However, he agreed that the evaluators were actually

impartial, despite Best’s argument suggesting that they

might have a potential conflict or the appearance of a

conflict.         Considering Best’s apparent argument for “per

se disqualification where an assessing psychotherapist

subsequently serves on” a sanity board, Judge Baker found

that       view    was       “not     required    as   a     matter     of   ...

constitutional due process, where as here, Appellant has

had the opportunity to test for impartiality” through

cross-examination.              Id. at 390.

       Judge Baker noted that, “The Government might choose

as     a    prudential         matter     to     eliminate       any    possible

appearance         of    a     conflict    of     interest,       and   related

litigation,        by     affirmatively         selecting     qualified      ...

board members with no prior connection to the subject of

the review,” and that this prudential approach would be

“consistent             with        the   admonition        in     both      the

psychologists’ Code of Conduct and the psychiatrists’



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Principles of Medial Ethics, which disfavor, and in some

cases bar, a treating psychotherapist’s performance of

multiple roles.”        Id.   But, he concluded, such across-

the-board disqualification was not legally required.

    Similarly, the doctors in Battle were themselves

court-appointed      experts.          264   F.Supp.2d        at    1107.

Nevertheless, despite the defendant’s argument that the

doctors   might    be   biased     because     they    had    the   same

employer as the murder victim in that case, the court

found that “this fact in itself is not so suspect that

their evaluations and testimony should be rendered per se

unreliable.”      Id. at 1206.         In other words, the court

refused to adopt a blanket rule that court-appointed

experts are disqualified because of potential or apparent

conflicts    of    interest,      relying      instead       on    cross-

examination to place any indications of bias before the

fact-finder.

    Finally, the related context of experts appointed to

assist defendants offers some additional guidance.                       In



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Simon v. Epps, 2007 WL 4292498 (N.D. Miss. 2007) (Pepper,

J.),     aff’d,     394    F.   App'x      138    (5th       Cir.     2010),      a

habeas-corpus case under 28 U.S.C. § 2254, the defendant

argued that the psychologist appointed by the court to

evaluate the defendant for mitigation purposes had a

conflict of interest.              Specifically, he noted that the

psychologist had previously evaluated a co-defendant, and

argued that, as a result, the psychologist had divided

loyalties       that      caused     him    to     provide          compromised

mitigation         testimony.         The    state       appellate          court

concluded       that     the    defendant        had    no    right       to    the

effective      assistance       of   his    expert      witness,          and   the

federal district court declined to grant habeas relief on

this basis, finding “no clearly established federal right

to    the    effective      assistance      of     an    expert      witness.”

Simon,      2007    WL    4292498    at    *20;    see       also    28    U.S.C.

§ 2254(d)(1) (establishing “clearly established Federal

law” standard).          Similarly, in a brief, summary opinion,

the Ninth Circuit refused habeas relief based on an



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alleged conflict of interest of the defendant’s retained

expert, finding that “there is no clearly established

Supreme Court law establishing a due process right to a

medical expert free from conflicts of interest.”                       Henslee

v. Stewart, 172 F. App’x 759 (9th Cir. 2006).                            While

obviously        distinguishable          from     this        case,     these

authorities further confirm that courts do not enforce a

blanket prohibition on evaluations by psychiatrists who

have some potential conflict or previous involvement in

the case.



                                     D.

       Ultimately, this court’s conclusion is similar to

Judge Baker’s views in Best.                    It might very well be

prudent for the government to use another expert “to

eliminate       any   possible     appearance         of   a   conflict     of

interest.”       Best, 61 M.J. at 390 (Baker, J., concurring

in    the   judgment).         Indeed,     as    is   always     true,     the

government’s interest would probably be best served by



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retaining an expert who is not vulnerable to cross-

examination based on potential bias.            In particular, this

opinion    should    not    be    read     as   an     assessment        of

Rosenblatt’s credibility; that is an issue the court will

determine if and when he testifies.

    Furthermore, it might be prudent for Dr. Rosenblatt

to decline to evaluate Mock.             See Declaration of Kathy

Kinlaw, M.Div. (Doc. No. 478-1) at 5 (“it would be

prudent    to   avoid      any    appearance      of     conflict        of

interest”).     The court does not decide what course of

action the ethical rules governing Rosenblatt, or those

that inform his practice by analogy, require or recommend

in this case.       Mock has argued that those guidelines

either    command   or   urge    Rosenblatt     to     avoid   multiple

relationships because of the risk of bias, and the court

does not necessarily agree or disagree with that reading.

Apparently, Rosenblatt has determined that his conduct in

this case is permissible under the governing rules, and




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the court does not render an opinion on that question one

way or another.

    All the court has concluded is that there is no legal

basis   for    the    court      to    disqualify     Rosenblatt      from

evaluating Mock.           This is for three reasons: first,

Rosenblatt has no actual conflict of interest and only

the most tenuous potential or apparent conflicts; second,

the court is aware of no legal basis to disqualify

Rosenblatt, as an expert retained by the government and

potential     witness      for    the       government,     rather    than

permitting him to testify and then making a credibility

determination; and, third, even if Rosenblatt were court-

appointed     and    his   involvement         implicated    due-process

protections,        due    process          would   not     require   his

disqualification under the circumstances of this case.



                                      ***

    Accordingly, for the above reasons, it is ORDERED as

follows:



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    (1)    Defendant       Steven      P.    Mock’s      motion      for

determination of conflict of interest (doc. no. 468) is

denied to the extent that defendant Mock seeks to have

the court disqualify the government’s proposed expert

witness,    Dr.   Steven     Rosenblatt,       from    conducting        a

competency evaluation in this case.

    (2) The government may proceed with the evaluation of

defendant Mock by Dr. Rosenblatt in conformity with the

court’s prior opinion (doc. no. 466).

    (3) Pursuant to the court’s previous order (doc. no.

476), the government has 14 days from the date of this

order to conduct and file that evaluation.

    DONE, this the 26th day of June, 2014.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
